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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:07CR3152
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
JOHN F. KROTZ,                                 )
                                               )
                    Defendant.                 )

      IT IS ORDERED that the defendant’s motion to continue (filing 68) is granted. The
defendant shall have until close of business on May 30, 2008, to comply with paragraph 6
of the Order on Sentencing Schedule.


      May 30, 2008.                         BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
